11-02790-mg        Doc 1480        Filed 04/27/12 Entered 04/27/12 20:07:23       Main Document
                                               Pg 1 of 2



David B. Shemano (DS 1224)
PEITZMAN WEG LLP
2029 Century Park East, Suite 3100
Los Angeles, CA 90067
Telephone: (310) 552-3100
Facsimile: (310) 552-3101

Attorneys for Cascade Investment, L.L.C.

                             UNITED STATES BANKRUPTCY COURT

                              SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
                                                           :
In re:                                                     :   Case No. 11-15059 (MG)
                                                           :
MF GLOBAL HOLDINGS, LTD., et al.,                          :   Chapter 11
                                                           :
                           Debtors                         :   (Jointly Administered)
-----------------------------------------------------------x

In re:                                                     :
                                                           :
MF GLOBAL, Inc.                                            :   Case No. 11-2790 (MG) SIPA
                                                           :
                           Debtors                         :
-----------------------------------------------------------x



                      OBJECTION OF CASCADE INVESTMENT, L.L.C.
                     TO CLAIM DETERMINATION DATED APRIL 3, 2012
11-02790-mg   Doc 1480   Filed 04/27/12 Entered 04/27/12 20:07:23   Main Document
                                     Pg 2 of 2
